






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00795-CR






Leonel Soto Alcarter, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NO. D-1-DC-06-203969, HONORABLE BOB PERKINS, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Leonel Soto Alcarter filed a notice of appeal following his conviction for driving
while intoxicated.  The trial court has certified that Alcarter waived the right of appeal.  See Tex. R.
App. P. 25.2(a)(2); Monreal v. State, 99 S.W.3d 615, 622 (Tex. Crim. App. 2003).  The appeal is
dismissed.



				__________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Henson

Dismissed for Want of Jurisdiction

Filed:   March 13, 2007

Do Not Publish


